   Case 1:16-cv-04439-WMR Document 52 Filed 03/16/22 Page 1 of 11
                                                      FILED IN CLERK'S OFFICE
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                                                           NAR I 6 2022

             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DP/ISION

UNITED STATES OF AMERICA AND THE
STATES OF GEORGIA, FLORIDA AND
TEXAS/ EX REL. ROBERT W. DOUGLAS/      Civil Action No.

                                       l:16-cv-4439-WMR
          PLAINTIFF-RELATOR,

     V.



CARE PLUS MANAGEMENT/ LLC;             FILED EX PARTE and
PREMIER CHOICE BILLING/ LLC;
                                       UNDER SEAL
HEXIT, INC. F/K/A RADAR
HEALTHCARE PROVIDERS, INC.; JOHN
R. MORGAN MD; GEORGIA MEDICAL
AND ANESTHESIA SERVICES/ LLC;
PAUL D. WEIR; VWTW/ LLC; JEFFREY
WILLIAMS, MD; ETX/ LLC; AND JOHN
DOES (1-30) AND

AC ANESTHESIOLOGY, LLC; ATHENS
GASTROENTEROLOGY ASSOCIATION,
P.C.; ATHENS GASTROENTEROLOGY
ENDOSCOPY CENTER, INC.; ATHENS
VASCULAR SURGERY/ LLC; AU
ANESTHESIOLOGY, LLC; CF
ANESTHESIA, LLC; DC ANESTHESIA,
LLC; DEKALB ENDOSCOPY CENTER,
LLC; DEKALB GASTROENTEROLOGY
ASSOCIATES II/ LLC; DEKALB
GASTROENTEROLOGY ASSOCIATES III/
LLC; EXCEL ANESTHESIA/ LLC; FOOT
& ANKLE OF WEST GEORGIA/ P.C.;
GASTROENTEROLOGY SPECIALISTS OF
DEKALB/ LLC; GEORGIA SURGICARE,
LLC; GP ANESTHESIOLOGY, LLC;
    Case 1:16-cv-04439-WMR Document 52 Filed 03/16/22 Page 2 of 11




INDEPENDENT ANESTHESIA, LLC; LC
ANESTHESIOLOGY, LLC; MIDDLE
GEORGIA ANESTHESIOLOGY/ LLC;
NORTHEAST GEORGIA
ANESTHESIOLOGY, LLC; PEACH
STATE SURGICAL CENTERS/ INC.; RG
ANESTHESIA, LLC; ROME
GASTROENTEROLOGY ASSOCIATES/
INC.; SC ANESTHESIOLOGY/ LLC; SG
ANESTHESIA/ LLC; SOUTHERN
ENDOSCOPY SUITE, LLC; SOUTHERN
GASTROENTEROLOGY ASSOCIATES/
LLC; TC ANESTHESIA, LLC; THE
FOOT & ANKLE SURGERY CENTER/
LLC; THE ROME ENDOSCOPY CENTER
INC./; UNIVERSITY SURGICAL
ASSOCIATES OF ATHENS, PC; AND
JOHN DOES 31-60; AND

AMBULATORY ANESTHESIA SERVICE,
PLLC; DlGESTIVE HEALTH
SPECIALISTS ENDOSCOPY, PLLC;
DIGESTIVE HEALTH SPECIALISTS OF
TYLER LLP; INDEPENDENT
ANESTHESIA, LLC; AND JOHN DOES
61-90; AND

CAROLINA DIGESTIVE DISEASE, P.A.;
CATAWBA GASTROENTEROLOGY, PA;
CATAWBA GASTROENTEROLOGY
LAND, LLC; LC ANESTHESIOLOGY/
LLC; PALMETTO ENDOSCOPY SUITE,
LLC; SC ANESTHESIOLOGY/ LLC; AND
JOHN DOES 91-120; AND

EXCEL ANESTHESIA/ LLC; GASTRO
CARE/ P.C.; TC ANESTHESIA, LLC;
GASTROENTEROLOGY CONSULTANTS
       Case 1:16-cv-04439-WMR Document 52 Filed 03/16/22 Page 3 of 11




   OF TUSCALOOSA/ INC.; AND JOHN
   DOES 121-150; AND

   7 HILL GASTROENTEROLOGY, P.A.; CF
   ANESTHESIA, LLC; CENTRAL FLORIDA
   ENDOSCOPY & SURGICAL INSTITUTE
   OF OCALA/ LLC; GASTRO CARE
   ASSOCIATES, LLC; AND JOHN DOES
   150-175, JOINTLY AND SEVERALLY,


             DEFENDANTS.



      THE UNITED STATES OF AMERICA AND STATE OF GEORGIA'S
              NOTICE OF ELECTION TO INTERVENE IN PART

   Pursuant to the False Claims Act/ 31 U.S.C. § 3730(b)(2) and (4) and the

Georgia False Medicaid Claims Act, O.C.G.A. §§ 49-4-168.1/ et seq., the United


States of America (the "United States") and the State of Georgia ("Georgia")

(collectively/ the "Government") notify the Court of their decision to intervene as


to claims asserted by the Relator on behalf of the Government against the


following defendants:

      • Care Plus Management/ LLC ("Care Plus")


      • Paul D. Weir


      • John R. Morgan, M.D.


      • AC Anesthesiology/ LLC

      • AG Anesthesia/ LLC
Case 1:16-cv-04439-WMR Document 52 Filed 03/16/22 Page 4 of 11




 AU Anesthesiology, LLC


 CF Anesthesia, LLC


 DC Anesthesia/ LLC

 Excel Anesthesia LLC


 GP Anesthesiology/ LLC

 Independent Anesthesia, LLC


 KF Anesthesia/ LLC


 LC Anesthesiology, LLC

 MD Anesthesia, LLC

 Middle Georgia Anesthesiology, LLC


 Northeast Georgia Anesthesiology, LLC

 RG Anesthesia/ LLC


 SC Anesthesiology, LLC

 SG Anesthesia, LLC


 TC Anesthesia/ LLC


 MS Anesthesia, LLC
        Case 1:16-cv-04439-WMR Document 52 Filed 03/16/22 Page 5 of 11




The Government declines to intervene as to aU other claims asserted on its behalf


in this action.1


   The Government further notifies the Court that the Government has reached a


settlement agreement with the above-named parties and the Relator, which is


currently being finalized. Pursuant to the terms of the agreement/ the above-


named parties will have 10 days from the effective date of the agreement to make


their initial payment under the agreement. The Government and the Relator will


file their motion to dismiss upon the Government's receipt of those funds.


   Accordingly, the Government respectfully requests that the seal remain in


place for a period of four additional weeks, up through and including April 13,

2022, while the parties to the settlement agreement fuUy execute the agreement.


      A proposed order accompanies this notice.




' The States of Florida and Texas, also named in the complaint/ do not plan to
intervene as to any portion of the action nor are they participants to the
settlement agreement Pursuant to the Settlement Agreement/ the claims with
respect to both Florida and Texas wUl be dismissed without prejudice as to each
such government entity.
       Case 1:16-cv-04439-WMR Document 52 Filed 03/16/22 Page 6 of 11




  Respectfully submitted, this 16A day of March, 2022.

CHRISTOPHER M. CARR                       KURT R. ERSKINE
ATTORNEY GENERAL                          UNITED STATES ATTORNEY

 T^AU                                           SL ^-e^U- ^CLJ\AA c{
JIKI MOONEY                               NEELI BEN-DAVID
(signed by Neeli Ben-David with           ASSISTANT U.S. ATTORNTEY
express permission)                       Georgia Bar No. 049788
ASSISTANT ATTORNEY GENERAL                600 Richard B. Russell Federal Bldg.
Georgia Bar No. 940402                    75 Ted Turner Drive, S.W.
Georgia Medicaid Fraud Control Unit       Atlanta/ Georgia 30303
200 Piedmont Ave./ S.E.                   Telephone: (404) 581-6303
West Tower/ 19th Floor                    Facsimile: (404) 581-4667
Atlanta/ Georgia 30334
Phone: (404) 458-3805                     Counsel for United States of America
imooney@law.ga.gov


Counsel for the State of Georgia
                   Case 1:16-cv-04439-WMR Document 52 Filed 03/16/22 Page 7 of 11

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             DEFENDANTS.


                         CERTIFICATE OF SERVICE

      I hereby certify that The United States and State of Georgia's Notice of
Election to Intervene in Part and proposed Order, were served by emailing true
copies thereof by to:

             J. Marc Vezina
             jmv@vezinalaw.com



      This 16^ day of March, 2022.


                                                    &€/m-i
                                          Neeli Ben-David
                                          Assistant United States Attorney

       THESE DOCUMENTS HAVE NOT BEEN SERVED UPON THE
      DEFENDANTS BECAUSE THIS CASE REMAINS UNDER SEAL.
